    Case 3:23-cv-02789-G Document 1 Filed 12/19/23                 Page 1 of 29 PageID 1


                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS




 NATHAN WOOD,                       §
                                    §
              Plaintiff,            §
                                    §
 v.                                 §                     Civil Action: 3:23-cv-2789
                                    §
                                    §                     With Jury Demand Endorsed
 EQUIFAX INFORMATION SERVICES LLC, §
 EXPERIAN INFORMATION SOLUTIONS,    §
 Inc., TRANS UNION LLC, NATIONSTAR  §
 MORTGAGE LLC, BRANCH BANKING       §
 AND TRUST COMPANY dba TRUIST       §
 FINANCIAL, and FIRST NATIONAL BANK §
 OF OMAHA,                          §
                                    §
              Defendants.           §
                                    §




                                        COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

       Plaintiff, Nathan Wood (“Plaintiff”), by and through counsel, for his Complaint against

Defendants, Equifax Information Services LLC, Experian Information Solutions, Inc., Trans Union

LLC, Nationstar Mortgage LLC, Branch Banking & Trust Company dba Truist Financial, and First

National Bank of Omaha jointly, severally, and in solido, states as follows:

                                    I. INTRODUCTION

       1.      Three of the Defendants are consumer reporting agencies (“CRAs”) as defined by 15


                                           Page 1 of 29
     Case 3:23-cv-02789-G Document 1 Filed 12/19/23               Page 2 of 29 PageID 2


U.S.C. § 1681a(f), and Defendants, Nationstar Mortgage LLC, Branch Banking & Trust Company

dba Truist Financial, and First National Bank of Omaha are furnishers of consumer information. All

Defendants have violated 15 U.S.C. § 1681 et seq., known as the Fair Credit Reporting Act (the

“FCRA”). Plaintiff seeks to recover from Defendants actual, statutory, and punitive damages,

injunctive relief, legal fees, and expenses.


                                          II. PARTIES

        2.      Plaintiff, Nathan Wood, is a natural person residing in Webster County, Missouri,

and is a “consumer,” as defined by the FCRA, 15 U.S.C. § 1681a(c), and is a victim of repeated

false credit reporting.

        Made Defendants herein are:

        3.      Upon information and belief, Defendant Equifax Information Services LLC, which

may also hereinafter be referred to as “Equifax,” “Defendant,” “Defendants,” “CRA,” “CRA

Defendant,” or “CRA Defendants” is a Georgia limited liability company that does substantial

business in this judicial district and may be served by delivering a summons to its headquarters,

1550 Peachtree Street, Northwest, Atlanta, Georgia 30309. Equifax is a nationwide consumer

reporting agency (“CRA”) as defined by 15 U.S.C. § 1681a(f). Equifax regularly engages in the

business of assembling, evaluating, and disbursing information concerning consumers for the

purposes of furnishing “consumer reports” as defined by 15 U.S.C. § 1681a(f) to third parties.

Equifax disburses such consumer reports to third parties of contract for monetary compensation.

        4.      Upon information and belief, Defendant Experian Information Solutions, Inc., which

may also hereinafter be referred to as “Experian”, “Defendant,” “Defendants,” “CRA,” or “CRA

                                               Page 2 of 29
    Case 3:23-cv-02789-G Document 1 Filed 12/19/23                   Page 3 of 29 PageID 3


Defendant,” or “CRA Defendants,” is an Ohio corporation that does business in this judicial district

and may be served by delivering a summons to its headquarters, 475 Anton Blvd., Costa Mesa,

California 92626. Experian is a nationwide CRA as defined by 15 U.S.C. § 1681a(f). Experian

regularly engages in the business of assembling, evaluating, and disbursing information concerning

consumers for the purposes of furnishing “consumer reports” as defined by 15 U.S.C. § 1681a(f) to

third parties. Experian disburses such consumer reports to third parties of contract for monetary

compensation.

       5.       Upon information and belief, Defendant Trans Union LLC, which may also

hereinafter be referred to as “Trans Union”, “Defendant,” “Defendants,” “CRA,” “CRA Defendant,”

or “CRA Defendants” is an Illinois limited liability company that does business in this judicial

district and may be served by delivering a summons to its headquarters, 555 West Adams Street,

Chicago, Illinois 60681. Trans Union is a nationwide CRA as defined by 15 U.S.C. § 1681a(f). Trans

Union regularly engages in the business of assembling, evaluating, and disbursing information

concerning consumers for the purposes of furnishing “consumer reports” as defined by 15 U.S.C. §

1681a(f) to third parties. Trans Union disburses such consumer reports to third parties of contract for

monetary compensation.

       6.       Upon information and belief, Defendant Nationstar Mortgage LLC or Mr. Cooper,

which may also hereinafter be referred to as “Nationstar,” “Defendant,” “Defendants,” “Furnisher

Defendant,” or “Furnisher Defendants,” is a Delaware limited liability company that does

substantial business in this judicial district and may be served by delivering a summons to its Legal

Department at its headquarters, 8950 Cypress Waters Blvd., Coppell, Texas 75019. Nationstar is a


                                             Page 3 of 29
    Case 3:23-cv-02789-G Document 1 Filed 12/19/23                  Page 4 of 29 PageID 4


“person,” as defined by the FCRA, 15 U.S.C. § 1681a(b), and a furnisher of consumer credit

information to consumer reporting agencies.

       7.      Upon information and belief, Defendant Branch Banking & Trust Company dba

Truist Financial which may also hereinafter be referred to as “BB&T,” “Truist,” “BB&T/Truist”

“BB&T d/b/a Truist,” “Defendant,” “Defendants,” “Furnisher Defendant,” or “Furnisher

Defendants,” is a North Carolina Corporation, that does substantial business in this judicial district

and may be served by delivering a summons to its Legal Department at its headquarters, 200 Second

St., Winston-Salem, NC 27101. BB&T/Truist is a “person,” as defined by the FCRA, 15 U.S.C. §

1681a(b), and a furnisher of consumer credit information to consumer reporting agencies.

       8.      Upon information and belief, Defendant First National Bank of Omaha which may

also hereinafter be referred to as “FNB Omaha,” “Defendant,” “Defendants,” “Furnisher

Defendant,” or “Furnisher Defendants,” is a Nebraska Corporation, that does substantial business in

this judicial district and may be served by delivering a summons to its Legal Department at its

headquarters, 1620 Dodge St., Omaha, NE 68197. FNB Omaha is a “person,” as defined by the

FCRA, 15 U.S.C. § 1681a(b), and a furnisher of consumer credit information to consumer reporting

agencies.

       9.      As used herein, “consumer reporting agency,” or “CRA,” means any person which,

for monetary fees, dues, or on a cooperative nonprofit basis, regularly engages in whole or in part in

the practice of assembling or evaluating consumer credit information or other information on

consumers for the purpose of furnishing consumer reports (commonly referred to as “credit reports”)

to third parties, and which uses any means or facility of interstate commerce for the purpose of


                                            Page 4 of 29
     Case 3:23-cv-02789-G Document 1 Filed 12/19/23                   Page 5 of 29 PageID 5


preparing or furnishing consumer reports and is an entity in the business of collecting, maintaining

and disseminating information regarding the credit-worthiness of individuals. CRAs specifically

include, but are not limited to, Equifax, Experian, and TransUnion.

                              III. JURISDICTION AND VENUE


        10.     Plaintiff respectfully asserts that this Honorable Court has jurisdiction in this case

arises under federal law. 28 U.S.C. § 1331, 1334, and 1367 and 15 U.S.C. § 1681(p). Plaintiff also

asserts actions under states' laws which may be brought within the supplemental jurisdiction of this

Court and Plaintiff respectfully requests that this Honorable Court exercise supplemental

jurisdiction over said claims. 28 U.S.C. § 1367.

        11.     Venue is proper in this District, because CRA Defendants and Nationstar transact

business in this District. Nationstar’s headquarters is located in this judicial district, a substantial

part of the conduct complained of occurred in this district, and various actions made basis of

Plaintiff’s claims against Defendants occurred in the Northern District of Texas as further described.

28 U.S.C. § 1391.

       12. Venue is further proper in this District, because CRA Defendants entered into agreements

with Nationstar in this judicial district to receive credit reporting data concerning Plaintiff. Any and

all requests to investigate Plaintiff’s dispute(s) sent from the CRA Defendants as part of their

reinvestigation was submitted to Nationstar’s headquarters and investigated by the furnisher

Nationstar using Nationstar’s resources located at or closely connected to this judicial district.

Nationstar managed Plaintiff’s mortgage from this judicial district including communicating amounts

owed and conducting numerous communications via phone and letter.
                                              Page 5 of 29
       Case 3:23-cv-02789-G Document 1 Filed 12/19/23              Page 6 of 29 PageID 6




                              IV. FACTUAL ALLEGATIONS


         13.   Upon information and belief, in or around February 2008 Plaintiff secured a

mortgage for his property located at 7228 Lydia Avenue, Kansas City, MO 64131.

         14.   Sometime thereafter, Nationstar Mortgage LLC acquired Plaintiff’s mortgage loan

and assigned loan number 60141x, hereinafter (“Nationstar mortgage account”).

         15.   Upon information and belief, in or around November 2015 Plaintiff secured a

mortgage for his property located at 211 Spring Meadow Parkway, Branson, MO 65616.

         16.   Sometime thereafter, Branch Banking &Trust Company acquired Plaintiff’s

mortgage loan and assigned loan number 933699984x, hereinafter (“BB&T mortgage account”).

         17.   Upon information and belief, in or around July 2016, Plaintiff opened a credit card

account with First National Bank of Omaha (“FNB Omaha”) under the account number

14882317747x, hereinafter (“FNB Omaha Account”).

         18.   On November 10, 2017 , Plaintiff filed for a Chapter 13 bankruptcy. Redacted copies

of Plaintiff’s chapter 13 bankruptcy docket report and voluntary petition are each attached hereto as

Exhibits “A” and “B” respectively.

         19.   On July 24, 2018, Plaintiff Chapter 13 payment plan was confirmed. See Exhibit

“A”.

         20.   Read in concert, Sections 1322(a)(2), 1322(b)(5), and 1328(a)(1) of the Bankruptcy

Code, bar discharging home mortgage debts in a Chapter 13 Bankruptcy.

         21.   Throughout Plaintiff’s Chapter 13 Bankruptcy, under direct or indirect order from

the bankruptcy Trustee, timely monthly mortgage payments were made to the Nationstar and BB&T

                                            Page 6 of 29
    Case 3:23-cv-02789-G Document 1 Filed 12/19/23                   Page 7 of 29 PageID 7


mortgage accounts.

       22.     On July 13, 2020, Plaintiff was discharged form his chapter 13 bankruptcy, and

excepted from discharge Plaintiff’s Nationstar and BB&T Mortgage accounts. However, unlike the

mortgage accounts, Plaintiff’s unsecured FNB Omaha account was discharged and FNB Omaha is

listed in the notice to creditors. A redacted copy of Plaintiff’s Chapter 13 Bankruptcy Discharge

Order is attached hereto as Exhibit “C”.

       23.     On August 7, 2020, Richard V. Fink, Trustee for Plaintiff’s Chapter 13 Bankruptcy

filed a Chapter 13 Standing Trustee’s Final Report and Account and the FNB Omaha account is

listed as “UNSECURED”. A redacted copy of Plaintiff’s Chapter 13 Bankruptcy Trustee’s Final

Report and Account is attached hereto as Exhibit “D”.

       24.     On or around September 8, 2020, Plaintiff’s Chapter 13 Bankruptcy was terminated.

See Exhibit “A”.

       25.     Around the time of the bankruptcy discharge in 2020, both the Nationstar and BB&T

mortgage accounts were paid in full because both properties were sold.

       26.     Sometime in July 2023, Plaintiff obtained his three-bureau credit report and noticed

that the Equifax, Experian, and Trans Union credit report(s) were not accurate. A redacted copy of

Plaintiff’s three-bureau credit report is attached hereto as Exhibit “E”.

       27.     Within the Equifax credit report Plaintiff noticed that it reported the BB&T mortgage

account without the correct update that indicated that this secured debt was no longer part of the

bankruptcy, as derogatory, as being in a wage earner plan and with references to the Chapter 13

Bankruptcy. The reporting is incorrect because Plaintiff complied with the terms of the chapter 13

bankruptcy plan, was successfully discharged—excepted the secured BB&T mortgage debt from

                                             Page 7 of 29
        Case 3:23-cv-02789-G Document 1 Filed 12/19/23                 Page 8 of 29 PageID 8


    being discharged, therefore, any remarks and/or references to Plaintiff’s chapter 13 bankruptcy

    should have been removed from the BB&T Mortgage tradelines after the Bankruptcy was

    discharged. 1

           28.      Metro 2 guidelines require furnishers and CRAs to update the reporting of an account

    when the borrower associated to the account filed chapter 13 bankruptcy by first updating the

    Consumer Information Indicator (“CII”) to “D”, and then continuing to furnish the monthly payment

    history information with a value of “D”. Metro 2 guidelines further require furnishers and CRAs to

    update the reporting of an account when the borrower associated to the account is discharged from

    chapter 13 bankruptcy by updating the CII to “Q”. In following these simple Metro 2 guidelines,

    which are well regarded as the industry standards, it prevents the reporting of any late payment

    history during the pendency of a consumer’s chapter 13 Bankruptcy, and allows payments made by

    the consumer after the chapter 13 bankruptcy is discharged to be reported. Metro 2 guidelines are

    followed by both furnishers and CRAs.

           29.      Within the Experian credit report Plaintiff noticed that it reported the BB&T

    mortgage account without the correct update that indicated that this secured debt was no longer part

    of the bankruptcy, as potentially discharged through bankruptcy, as derogatory, as being in a wage

    earner plan and with references to the Chapter 13 Bankruptcy. The reporting is incorrect because

    Plaintiff complied with the terms of the chapter 13 bankruptcy plan, was successfully discharged—

    excepted the secured BB&T mortgage debt from being discharged, therefore, any remarks and/or



1
  The Consumer Data Industry Association’s Metro 2 reporting standards specifically instruct
consumer reporting agencies to remove any suppression codes associated with bankruptcy
reporting for an account once the chapter 13 bankruptcy is discharged so that ongoing payments
made by the consumer can be reported.
                                                Page 8 of 29
        Case 3:23-cv-02789-G Document 1 Filed 12/19/23                Page 9 of 29 PageID 9


    references to Plaintiff’s chapter 13 bankruptcy should have been removed from the BB&T Mortgage

    tradelines after the Bankruptcy was discharged. 2

           30.     Metro 2 guidelines require furnishers and CRAs to update the reporting of an account

    when the borrower associated to the account filed chapter 13 bankruptcy by first updating the

    Consumer Information Indicator (“CII”) to “D”, and then continuing to furnish the monthly payment

    history information with a value of “D”. Metro 2 guidelines further require furnishers and CRAs to

    update the reporting of an account when the borrower associated to the account is discharged from

    chapter 13 bankruptcy by updating the CII to “Q”. In following these simple Metro 2 guidelines,

    which are well regarded as the industry standards, it prevents the reporting of any late payment

    history during the pendency of a consumer’s chapter 13 Bankruptcy, and allows payments made by

    the consumer after the chapter 13 bankruptcy is discharged to be reported. Metro 2 guidelines are

    followed by both furnishers and CRAs.

           31.     Within the Trans Union credit report Plaintiff noticed that it reported both the

    Nationstar and BB&T mortgage accounts without the correct update that indicated that the secured

    debts were no longer part of the bankruptcy, as derogatory, as being in a wage earner plan and with

    references to the Chapter 13 Bankruptcy. The reporting is incorrect because Plaintiff complied with

    the terms of the chapter 13 bankruptcy plan, was successfully discharged—excepted the secured

    Nationstar and BB&T mortgage debts from being discharged, therefore, any remarks and/or

    references to Plaintiff’s chapter 13 bankruptcy should have been removed from the Nationstar and



2
  The Consumer Data Industry Association’s Metro 2 reporting standards specifically instruct
consumer reporting agencies to remove any suppression codes associated with bankruptcy
reporting for an account once the chapter 13 bankruptcy is discharged so that ongoing payments
made by the consumer can be reported.
                                               Page 9 of 29
       Case 3:23-cv-02789-G Document 1 Filed 12/19/23                Page 10 of 29 PageID 10


    BB&T Mortgage tradelines after the Bankruptcy was discharged. 3

           32.     Metro 2 guidelines require furnishers and CRAs to update the reporting of an account

    when the borrower associated to the account filed chapter 13 bankruptcy by first updating the

    Consumer Information Indicator (“CII”) to “D”, and then continuing to furnish the monthly payment

    history information with a value of “D”. Metro 2 guidelines further require furnishers and CRAs to

    update the reporting of an account when the borrower associated to the account is discharged from

    chapter 13 bankruptcy by updating the CII to “Q”. In following these simple Metro 2 guidelines,

    which are well regarded as the industry standards, it prevents the reporting of any late payment

    history during the pendency of a consumer’s chapter 13 Bankruptcy, and allows payments made by

    the consumer after the chapter 13 bankruptcy is discharged to be reported. Metro 2 guidelines are

    followed by both furnishers and CRAs.

           33.     Plaintiff also noticed that within the Trans Union credit report, it reported the FNB

    Omaha account as being an open account. This reporting was incorrect because Plaintiff’s FNB

    Omaha credit account was listed in the petition, was discharged in Chapter 13 bankruptcy, and FNB

    Omaha was notified of the discharge. FNB Omaha was required to include remarks that the loan

    was discharged, and could not report that it was open because it made it appear that the debtor was

    liable on this discharged debt.     .

           34.     On or about August 2023, Plaintiff sent direct disputes to Equifax, Experian, and

    Trans Union, and requested that the CRA Defendants investigate the reporting of the respective



3
  The Consumer Data Industry Association’s Metro 2 reporting standards specifically instruct
consumer reporting agencies to remove any suppression codes associated with bankruptcy
reporting for an account once the chapter 13 bankruptcy is discharged so that ongoing payments
made by the consumer can be reported.
                                               Page 10 of 29
   Case 3:23-cv-02789-G Document 1 Filed 12/19/23                    Page 11 of 29 PageID 11


inaccurate accounts. Plaintiff requested that under the FCRA, each CRA Defendant conduct a

reasonable investigation and/or remedy the inaccuracies on Plaintiff’s credit reports concerning the

respective inaccurate accounts.

       35.        Within these dispute letters, Plaintiff described in great detail the issues and the

misreporting following his bankruptcy and enclosed copies of either his bankruptcy docket report,

trustee final report, and/or discharge order. Redacted copies of Plaintiff’s unsigned dispute letters

sent to Equifax, Experian, and Trans Union, are attached hereto as Exhibits “F”, “G”, and “H”

respectively.

       36.        Equifax received Plaintiff’s dispute on September 5, 2023. A redacted copy of the

Certified Mail Receipt and Proof of Delivery for Plaintiff’s Equifax Dispute Letter is attached hereto

as Exhibit “I”.

       37.        Upon information and belief, Equifax did not respond to Plaintiff’s dispute.

       38.        Plaintiff then obtained an updated copy of his three-bureau credit report on

November 3, 2023 and within the Equifax credit report Plaintiff noticed that the BB&T tradeline

changed derogatory to paid but still reported as being in a wage earner plan and with references to

the Chapter 13 Bankruptcy despite being discharged from chapter 13 bankruptcy. A redacted copy

of Plaintiff’s November 3, 2023 Three-bureau Credit Report is attached hereto as Exhibit “J”.

       39.        Equifax’s responses, or lack thereof, were not the result of a reasonable investigation

into Plaintiff’s dispute(s) and failed to remedy the inaccuracies within the BB&T tradeline and gave

no explanation as to why it failed to sufficiently update the BB&T Mortgage tradeline when Plaintiff

filed chapter 13 bankruptcy, complied with the requirements of the chapter 13 bankruptcy plan, and

was successfully discharged.

                                              Page 11 of 29
   Case 3:23-cv-02789-G Document 1 Filed 12/19/23                    Page 12 of 29 PageID 12


       40.       Equifax’s response(s) were not the result of reasonable investigations into Plaintiff’s

dispute(s) for they did not adequately evaluate or consider Plaintiff’s information, claims, or

evidence and failed to remedy the inaccuracies within the BB&T Mortgage tradelines.

       41.       Plaintiff sent a very clear dispute, and yet Equifax made no changes to the disputed

information, bankruptcy status, and/or account status.

       42.       Equifax chose to “verify” false information from an unreliable source, failed to

correct the inaccurate information, and continued to publish the inaccurate information regarding

Plaintiff’s BB&T account.

       43.       Upon the Plaintiff’s request to Equifax for verification and addition regarding the

BB&T mortgage account, and in accordance with Equifax’s standard procedures, Equifax did not

evaluate or consider any of Plaintiff’s information, claims or evidence. Importantly, Equifax failed

to maintain procedures which would ensure that, if any investigation took place, it would provide

Plaintiff’s with a response communicating the results. Further, Equifax did not make any attempt to

substantially or reasonably verify the BB&T Mortgage account.

       44.       In the alternative, and in accordance with Equifax’s standard procedures, Equifax

failed to contact Truist, therefore, failed to perform any investigation at all.

       45.       In the alternative to the allegation that Equifax failed to contact Truist, it is alleged

that Equifax did forward some notice of the dispute to Truist, and Truist failed to conduct a lawful

investigation.

       46.       Experian received Plaintiff’s dispute on September 1, 2023. A redacted copy of the

Certified Mail Receipt and Proof of Delivery for Plaintiff’s Experian Dispute Letter is attached

hereto as Exhibit “K”.

                                              Page 12 of 29
   Case 3:23-cv-02789-G Document 1 Filed 12/19/23                 Page 13 of 29 PageID 13


       47.     Upon information and belief, Experian did not respond to Plaintiff’s dispute.

       48.     Plaintiff then obtained an updated copy of his three-bureau credit report on

November 3, 2023 and within the Experian credit report Plaintiff noticed that the BB&T tradeline

continued to report the same inaccuracies despite being discharged from chapter 13 bankruptcy. See

Exhibit “J”.

       49.     Experian’s responses, or lack thereof, were not the result of a reasonable

investigation into Plaintiff’s dispute(s) and failed to remedy the inaccuracies within the BB&T

tradeline and gave no explanation as to why it failed to sufficiently update the BB&T tradeline when

Plaintiff filed chapter 13 bankruptcy, complied with the requirements of the chapter 13 bankruptcy

plan, and was successfully discharged.

       50.     Experian’s responses were not the result of reasonable investigations into Plaintiff’s

dispute(s) for they did not adequately evaluate or consider Plaintiff’s information, claims, or

evidence and failed to remedy the inaccuracies within the BB&T Mortgage tradelines.

       51.     Plaintiff sent very clear disputes, and yet Experian made no changes to the disputed

information, bankruptcy status, and/or account status.

       52.     Experian chose to “verify” false information from an unreliable source, failed to

correct the inaccurate information, and continued to publish the inaccurate information regarding

Plaintiff’s BB&T account.

       53.     Upon the Plaintiff’s request to Experian for verification and addition regarding the

BB&T mortgage account, and in accordance with Experian’s standard procedures, Experian did not

evaluate or consider any of Plaintiff’s information, claims or evidence. Importantly, Experian failed

to maintain procedures which would ensure that, if any investigation took place, it would provide

                                           Page 13 of 29
   Case 3:23-cv-02789-G Document 1 Filed 12/19/23                     Page 14 of 29 PageID 14


Plaintiff with a response communicating the results. Further, Experian did not make any attempt to

substantially or reasonably verify the BB&T Mortgage account.

       54.       In the alternative, and in accordance with Experian’s standard procedures, Experian

failed to contact Truist, therefore, failed to perform any investigation at all.

       55.       In the alternative to the allegation that Experian failed to contact Truist, it is alleged

that Experian did forward some notice of the dispute to Truist, and Truist failed to conduct a lawful

investigation.

       56.       Trans Union received Plaintiff’s dispute on September 5, 2023. A redacted copy of

the Certified Mail Receipt and Proof of Delivery for Plaintiff’s Trans Union Dispute Letter is

attached hereto as Exhibit “L”.

       57.       Upon information and belief, Trans Union did not respond to Plaintiff’s dispute.

       58.       Plaintiff then obtained an updated copy of his three-bureau credit report on

November 3, 2023 and within the Trans Union credit report Plaintiff noticed that the Nationstar

tradeline was missing, presumably deleted rather than modified, and the BB&T and FNB Omaha

tradelines continued to report the same inaccuracies despite being discharged from chapter 13

bankruptcy. See Exhibit “J”.

       59.       Trans Union’s responses, or lack thereof, were not the result of a reasonable

investigation into Plaintiff’s dispute(s) and failed to remedy the inaccuracies within the Nationstar,

BB&T, and FNB Omaha tradelines and gave no explanation as to why it failed to sufficiently update

the Nationstar, BB&T, and FNB Omaha tradelines when Plaintiff filed chapter 13 bankruptcy,

complied with the requirements of the chapter 13 bankruptcy plan, and was successfully discharged,

       60.       Plaintiff sent a very clear dispute(s), and yet Trans Union made no changes to the

                                              Page 14 of 29
   Case 3:23-cv-02789-G Document 1 Filed 12/19/23                   Page 15 of 29 PageID 15


disputed information, bankruptcy status, and/or account status.

        61.     Trans Union chose to “verify” false information from an unreliable source, failed to

correct the inaccurate information, inappropriately deleted and continued to publish the inaccurate

information regarding Plaintiff’s Nationstar, BB&T, and FNB Omaha accounts.

        62.     Upon the Plaintiff’s request to Trans Union for verification and addition regarding

the Nationstar, BB&T, and FNB Omaha accounts, and in accordance with Trans Union’s standard

procedures, Trans Union did not evaluate or consider any of Plaintiff’s information, claims or

evidence. Importantly, Trans Union failed to maintain procedures which would ensure that, if any

investigation took place, it would provide Plaintiff with a response communicating the results.

Further, Trans Union did not make any attempt to substantially or reasonably verify the Nationstar,

BB&T, and FNB Omaha accounts.

        63.     In the alternative, and in accordance with Trans Union’s standard procedures, Trans

Union failed to contact Nationstar, BB&T, and FNB Omaha, therefore, failed to perform any

investigation at all.

        64.     In the alternative to the allegation that Trans Union failed to contact Nationstar,

BB&T, and FNB Omaha, it is alleged that Trans Union did forward some notice of the dispute to

Nationstar, BB&T, and FNB Omaha, and Nationstar, BB&T, and FNB Omaha all failed to conduct

a lawful investigation.

                                  V. GROUNDS FOR RELIEF

                        COUNT I – EQUIFAX’S VIOLATION OF THE FCRA
                                     (15 U.S.C. § 1681e(b))


        65.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

                                             Page 15 of 29
   Case 3:23-cv-02789-G Document 1 Filed 12/19/23                   Page 16 of 29 PageID 16


       66.     Equifax violated 15 U.S.C. § 168le(b) by failing to establish or follow reasonable

procedures to assure maximum possible accuracy in the preparation of the credit reports and credit

files it published and maintained concerning the Plaintiff.

       67.     The FCRA mandates that “[w]henever a consumer reporting agency prepares a

consumer report it shall follow reasonable procedures to assure maximum possible accuracy of the

information concerning the individual about whom the report relates.” 15 U.S.C. § 168le(b)

(emphasis added).

       68.     Plaintiff furnished Equifax the necessary documentation supporting Plaintiff’s

tradeline, yet Equifax continued to prepare a patently false consumer report concerning Plaintiff.

       69.     Despite actual and implied knowledge that Plaintiff’s credit reports were and are not

accurate, Equifax readily provided false reports to one or more third parties, thereby misrepresenting

Plaintiff, and ultimately Plaintiff’s creditworthiness.

       70.     After Equifax knew or should have known Plaintiff’s account status in relation to his

bankruptcy was inaccurate, they failed to make the corrections

       71.     As a result of Equifax’s conduct, action, and inaction, the Plaintiff suffered damages,

including, but not limited to, denial in attempts to refinance, loss in ability to finance goods, loss of

credit, loss of the ability to purchase and benefit from a credit, and suffering the mental and

emotional pain, anguish, humiliation, and embarrassment of credit denials.

       72.     Equifax's conduct, action, and inaction, were willful, rendering it liable to Plaintiff

for punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. § 168ln. In

the alternative, such conduct, action, and inaction, were negligent, entitling the Plaintiff to recover

under 15 U.S.C. § 1681o.

                                             Page 16 of 29
    Case 3:23-cv-02789-G Document 1 Filed 12/19/23                  Page 17 of 29 PageID 17


        73.     The Plaintiff is entitled to recover costs and attorney’s fees from Equifax in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.

                       COUNT II – EQUIFAX’S VIOLATION OF THE FCRA
                                      (15 U.S.C. §1681i)

        74.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       75.      Equifax violated § 1681i by failing to update inaccurate information in the Plaintiff’s

credit files after receiving actual notice of such inaccuracies, failing to conduct a lawful

reinvestigation, failing to forward all relevant information to furnisher(s), failing to maintain

reasonable procedures with which to filter and verify disputed information in the Plaintiff’s credit

files, and relying upon verification from a source it has reason to know is unreliable.

        76.     As a result of Equifax’s conduct, action, and inaction, the Plaintiff suffered damages,

including, but not limited to, loss in ability to finance goods, loss of credit, loss of the ability to

purchase and benefit from a credit, and suffering the mental and emotional pain, anguish,

humiliation, and embarrassment of credit denials.

        77.     Equifax's conduct, action, and inaction, were willful, rendering it liable for actual or

statutory damages, and punitive damages in an amount to be determined by the Court pursuant to

15 U.S.C. § 1681n. In the alternative, such conduct, action, and inaction were negligent entitling the

Plaintiff to recover actual damages under 15 U.S.C. § 1681o.

        78.     The Plaintiff is entitled to recover costs and attorney's fees from Equifax in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.



                     COUNT III – EXPERIAN’S VIOLATION OF THE FCRA
                                    (15 U.S.C. § 1681e(b))


                                             Page 17 of 29
   Case 3:23-cv-02789-G Document 1 Filed 12/19/23                  Page 18 of 29 PageID 18



       79.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       80.     Experian violated 15 U.S.C. § 168le(b) by failing to establish or follow reasonable

procedures to assure maximum possible accuracy in the preparation of the credit reports and credit

files it published and maintained concerning the Plaintiff.

       81.     The FCRA mandates that “[w]henever a consumer reporting agency prepares a

consumer report it shall follow reasonable procedures to assure maximum possible accuracy of the

information concerning the individual about whom the report relates.” 15 U.S.C. § 168le(b)

(emphasis added).

       82.     Plaintiff furnished Experian the necessary documentation supporting Plaintiff’s

tradeline, yet Experian continued to prepare a patently false consumer report concerning Plaintiff.

       83.     Despite actual and implied knowledge that Plaintiff’s credit reports were and are not

accurate, Experian readily provided false reports to one or more third parties, thereby

misrepresenting Plaintiff, and ultimately Plaintiff’s creditworthiness.

       84.     After Experian knew or should have known Plaintiff’s account status in relation to

his bankruptcy was inaccurate, they failed to make the corrections.

       85.     As a result of Experian’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, denial in attempts to refinance, loss in ability to finance

goods, loss of credit, loss of the ability to purchase and benefit from a credit, and suffering the

mental and emotional pain, anguish, humiliation, and embarrassment of credit denials.

       86.     Experian's conduct, action, and inaction, were willful, rendering it liable to Plaintiff

for punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. § 168ln. In


                                            Page 18 of 29
    Case 3:23-cv-02789-G Document 1 Filed 12/19/23                  Page 19 of 29 PageID 19


the alternative, such conduct, action, and inaction, were negligent, entitling the Plaintiff to recover

under 15 U.S.C. § 1681o.

        87.     The Plaintiff is entitled to recover costs and attorney’s fees from Experian in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.



                      COUNT IV – EXPERIAN’S VIOLATION OF THE FCRA
                                     (15 U.S.C. §1681i)


        88.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       89.      Experian violated § 1681i by failing to update inaccurate information in the

Plaintiff’s credit files after receiving actual notice of such inaccuracies, failing to conduct a lawful

reinvestigation, failing to forward all relevant information to furnisher(s), failing to maintain

reasonable procedures with which to filter and verify disputed information in the Plaintiff’s credit

files, and relying upon verification from a source it has reason to know is unreliable.

        90.     As a result of Experian’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, loss in ability to finance goods, loss of credit, loss of the

ability to purchase and benefit from a credit, and suffering the mental and emotional pain, anguish,

humiliation, and embarrassment of credit denials.

        91.     Experian's conduct, action, and inaction, were willful, rendering it liable for actual

or statutory damages, and punitive damages in an amount to be determined by the Court pursuant

to 15 U.S.C. § 1681n. In the alternative, such conduct, action, and inaction were negligent entitling

the Plaintiff to recover actual damages under 15 U.S.C. § 1681o.

        92.     The Plaintiff is entitled to recover costs and attorney's fees from Experian in an

                                             Page 19 of 29
   Case 3:23-cv-02789-G Document 1 Filed 12/19/23                  Page 20 of 29 PageID 20


amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.



                    COUNT V – TRANS UNION’S VIOLATION OF THE FCRA
                                   (15 U.S.C. §1681e(b))

        93.    The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

        94.    Trans Union violated 15 U.S.C. § 168le(b) by failing to establish or follow

reasonable procedures to assure maximum possible accuracy in the preparation of the credit reports

and credit files it published and maintained concerning the Plaintiff.

        95.    The FCRA mandates that “[w]henever a consumer reporting agency prepares a

consumer report it shall follow reasonable procedures to assure maximum possible accuracy of the

information concerning the individual about whom the report relates.” 15 U.S.C. § 168le(b)

(emphasis added).

        96.    Plaintiff furnished Trans Union the necessary documentation supporting Plaintiff’s

tradeline, yet Trans Union continued to prepare a patently false consumer report concerning

Plaintiff.

        97.    Despite actual and implied knowledge that Plaintiff’s credit reports were and are not

accurate, Trans Union readily provided false reports to one or more third parties, thereby

misrepresenting Plaintiff, and ultimately Plaintiff’s creditworthiness.

        98.    After Trans Union knew or should have known Plaintiff’s account status in relation

to his bankruptcy was inaccurate, they failed to make the corrections. Further, Plaintiff did not

request for the Nationstar mortgage tradeline be deleted.

        99.    As a result of Trans Union’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, denial in attempts to refinance, loss in ability to finance
                                            Page 20 of 29
    Case 3:23-cv-02789-G Document 1 Filed 12/19/23                  Page 21 of 29 PageID 21


goods, loss of credit, loss of the ability to purchase and benefit from a credit, and suffering the

mental and emotional pain, anguish, humiliation, and embarrassment of credit denials.

        100.    Trans Union's conduct, action, and inaction, were willful, rendering it liable to

Plaintiff for punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. §

168ln. In the alternative, such conduct, action, and inaction, were negligent, entitling the Plaintiff

to recover under 15 U.S.C. § 1681o.

        101.    The Plaintiff is entitled to recover costs and attorney’s fees from Trans Union in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.

                    COUNT VI – TRANS UNION’S VIOLATION OF THE FCRA
                                     (15 U.S.C. §1681i)

        102.    The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       103.     Trans Union violated § 1681i by failing to update inaccurate information in the

Plaintiff’s credit files after receiving actual notice of such inaccuracies, failing to conduct a lawful

reinvestigation, failing to forward all relevant information to furnisher(s), failing to maintain

reasonable procedures with which to filter and verify disputed information in the Plaintiff’s credit

files, and relying upon verification from a source it has reason to know is unreliable.

        104.    As a result of Trans Union’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, loss in ability to finance goods, loss of credit, loss of the

ability to purchase and benefit from a credit, and suffering the mental and emotional pain, anguish,

humiliation, and embarrassment of credit denials.

        105.    Trans Union's conduct, action, and inaction, were willful, rendering it liable for

actual or statutory damages, and punitive damages in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681n. In the alternative, such conduct, action, and inaction were negligent
                                             Page 21 of 29
   Case 3:23-cv-02789-G Document 1 Filed 12/19/23                  Page 22 of 29 PageID 22


entitling the Plaintiff to recover actual damages under 15 U.S.C. § 1681o.

       106.    The Plaintiff is entitled to recover costs and attorney's fees from Trans Union in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.



                  COUNT VII – NATIONSTAR’S VIOLATION OF THE FCRA
                                 (15 U.S.C. §1681s-2(b))


       107.    The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       108.    Defendant Nationstar violated 15 U.S.C. § 1681s-2(b) by failing to conduct

reasonable investigations upon receiving notice of Plaintiff’s dispute(s) from one or more consumer

reporting agencies, and/or failing to appropriately report the results of their investigations, and/or

failing to appropriately modify the information.

       109.    Nationstar further violated 15 U.S.C. § 1681s-2(b) by continuing to report the

Nationstar representation within Plaintiff’s credit files with the CRA Defendants without also

including a notation that this debt was disputed, failing to fully and properly investigate the

Plaintiff’s dispute(s) of the Nationstar representation, failing to accurately respond to the CRA

Defendants, failing to correctly report results of an accurate investigation to every other consumer

reporting agency, and failing to permanently and lawfully correct its own internal records to prevent

the re-reporting of the Nationstar representations to the consumer reporting agencies.

       110.    As a result of Nationstar’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, loss in ability to finance goods, loss of credit, loss of the

ability to purchase and benefit from a credit, and suffering the mental and emotional pain, anguish,

humiliation, and embarrassment of credit denials.

                                            Page 22 of 29
   Case 3:23-cv-02789-G Document 1 Filed 12/19/23                  Page 23 of 29 PageID 23


       111.    Nationstar’s conduct, action, and inaction, were willful, rendering it liable for actual

or statutory, and punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C.

§ 1681n. In the alternative, it was negligent entitling the Plaintiff to recover actual damages under

15 U.S.C. § 1681o.

                      COUNT VIII – TRUIST’S VIOLATION OF THE FCRA
                                     (15 U.S.C. §1681s-2(b))


       112.    The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       113.    Defendant Truist violated 15 U.S.C. § 1681s-2(b) by failing to conduct reasonable

investigations upon receiving notice of Plaintiff’s dispute(s) from one or more consumer reporting

agencies, and/or failing to appropriately report the results of their investigations, and/or failing to

appropriately modify the information.

       114.    Truist further violated 15 U.S.C. § 1681s-2(b) by continuing to report the

BB&T/Truist representation within Plaintiff’s credit files with the CRA Defendants without also

including a notation that this debt was disputed, failing to fully and properly investigate the

Plaintiff’s dispute(s) of the BB&T/Truist representation, failing to accurately respond to the CRA

Defendants, failing to correctly report results of an accurate investigation to every other consumer

reporting agency, and failing to permanently and lawfully correct its own internal records to prevent

the re-reporting of the BB&T/Truist representations to the consumer reporting agencies.

       115.    As a result of Truist’s conduct, action, and inaction, the Plaintiff suffered damages,

including, but not limited to, loss in ability to finance goods, loss of credit, loss of the ability to

purchase and benefit from a credit, and suffering the mental and emotional pain, anguish,

humiliation, and embarrassment of credit denials.

                                            Page 23 of 29
   Case 3:23-cv-02789-G Document 1 Filed 12/19/23                  Page 24 of 29 PageID 24


       116.    Truist’s conduct, action, and inaction, were willful, rendering it liable for actual or

statutory, and punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C.

§ 1681n. In the alternative, it was negligent entitling the Plaintiff to recover actual damages under

15 U.S.C. § 1681o.

                      COUNT IX – FNB OMAHA’S VIOLATION OF THE FCRA
                                    (15 U.S.C. §1681s-2(b))


       117.    The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       118.    Defendant FNB Omaha violated 15 U.S.C. § 1681s-2(b) by failing to conduct

reasonable investigations upon receiving notice of Plaintiff’s dispute(s) from one or more consumer

reporting agencies, and/or failing to appropriately report the results of their investigations, and/or

failing to appropriately modify the information.

       119.    FNB Omaha further violated 15 U.S.C. § 1681s-2(b) by continuing to report the FNB

Omaha representation within Plaintiff’s credit files with the CRA Defendants without also including

a notation that this debt was disputed, failing to fully and properly investigate the Plaintiff’s

dispute(s) of the FNB Omaha representation, failing to accurately respond to the CRA Defendants,

failing to correctly report results of an accurate investigation to every other consumer reporting

agency, and failing to permanently and lawfully correct its own internal records to prevent the re-

reporting of the FNB Omaha representations to the consumer reporting agencies.

       120.    As a result of FNB Omaha’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, loss in ability to finance goods, loss of credit, loss of the

ability to purchase and benefit from a credit, and suffering the mental and emotional pain, anguish,

humiliation, and embarrassment of credit denials.

                                            Page 24 of 29
   Case 3:23-cv-02789-G Document 1 Filed 12/19/23                   Page 25 of 29 PageID 25


         121.   FNB Omaha’s conduct, action, and inaction, were willful, rendering it liable for

actual or statutory, and punitive damages in an amount to be determined by the Court pursuant to

15 U.S.C. § 1681n. In the alternative, it was negligent entitling the Plaintiff to recover actual

damages under 15 U.S.C. § 1681o.


                 VI. VICARIOUS LIABILITY/RESPONDEAT SUPERIOR

         122.   Plaintiff will be able to show, after reasonable discovery, that all actions at issue

were taken by employees, agents, servants, or representatives, of any type, for Defendants, the

principals, within the line and scope of such individuals' (or entities’) express or implied authority,

through employment, agency, or representation, which imputes liability to Defendants for all such

actions under the doctrine of respondeat superior and/or vicarious liability.



                                         VII. DAMAGES

         123.   Plaintiff respectfully requests that this Honorable Court instruct the jury, as the trier

of facts, that in addition to actual or compensatory damages, punitive or exemplary damages may

be awarded against the Defendants under the provisions of the FCRA and/or states' laws, including

Texas.

         124.   Plaintiff respectfully requests that this Honorable Court award Plaintiff his litigation

expenses and other costs of litigation and reasonable attorney’s fees incurred in this litigation, in

accordance with the provisions of the FCRA and/or other laws.

         125.   The above and foregoing actions, inactions, and fault of Defendants, as to each and

every claim, have proximately caused a wide variety of damages to Plaintiff.


                                             Page 25 of 29
    Case 3:23-cv-02789-G Document 1 Filed 12/19/23                  Page 26 of 29 PageID 26


         126.   Defendants performed perfunctory and essentially useless reinvestigations resulting

in the verification of false reportings about the Plaintiff and have been a substantial factor in causing

credit denials and other damages.

         127.   Plaintiff suffered a variety of damages, including economic and non-economic

damages as prayed for herein.

         128.   Defendants have negligently and/or willfully violated various provisions of the

FCRA and are thereby liable unto Plaintiff.

         129.   Defendants are liable unto Plaintiff for all actual, statutory, exemplary and punitive

damages awarded in this case, as well as other demands and claims asserted herein including, but

not limited to, out-of-pocket expenses, credit denials, costs and time of repairing their credit, pain

and suffering, embarrassment, inconvenience, lost economic opportunity, loss of incidental time,

frustration, emotional distress, mental anguish, fear of personal and financial safety and security,

attorney’s fees, and court costs, and other assessments proper by law and any and all other applicable

federal and state laws, together with legal interest thereon from date of judicial demand until paid.


WHEREFORE PREMESIS CONSIDERED, Plaintiff, Nathan Wood, pray that this Honorable

Court:


         A.     Enter Judgment in favor of Plaintiffs and against Defendants Equifax Information

Services LLC, Experian Information Solutions, Inc., Trans Union LLC, and Nationstar Mortgage

LLC, Branch Banking & Trust Company dba Truist Financial, and First National Bank of Omaha,

jointly, severally, and in solido, for all reasonable damages sustained by Plaintiff, including, but not

limited to, actual damages, compensatory damages, out-of-pocket expenses, credit denials, costs and

                                             Page 26 of 29
    Case 3:23-cv-02789-G Document 1 Filed 12/19/23                  Page 27 of 29 PageID 27


time of repairing their credit, pain and suffering, embarrassment, inconvenience, lost economic

opportunity, loss of incidental time, frustration, emotional distress, mental anguish, and fear of

personal and financial safety and security for Defendants’ violations of the FCRA, applicable state

law, and common law;

         B.      Find that the appropriate circumstances exist for an award of punitive damages to

Plaintiff;

         C.      Award Plaintiff pre-judgment and post-judgment interest, as allowed by law;

         D.      Order that the CRA Defendants, Equifax Information Services LLC, Experian

Information Solutions, Inc., and Trans Union LLC, and Furnisher Defendants, Nationstar Mortgage

LLC, Branch Banking & Trust Company dba Truist Financial, and First National Bank of Omaha,

work in conjunction, cooperatively, and/or individually to reinvestigate and correct the consumer

report(s), credit report(s), data emanations, consumer histories, and credit histories of and concerning

Plaintiff and/or any of Plaintiff’s personal identifiers.

         E.      Grant such other and further relief, in law or equity, to which Plaintiff might show he

is justly entitled.



Date Filed: December 19, 2023


                                                  Respectfully submitted,

                                                  /s/ Matthew P. Forsberg
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                                                  FIELDS LAW FIRM

                                               Page 27 of 29
Case 3:23-cv-02789-G Document 1 Filed 12/19/23   Page 28 of 29 PageID 28


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                                 COUNSEL FOR PLAINTIFF




                              Page 28 of 29
  Case 3:23-cv-02789-G Document 1 Filed 12/19/23                Page 29 of 29 PageID 29


                                      JURY DEMAND

           Plaintiff hereby demands a trial by jury on all issues so triable.

December 19, 2023                           /s/ Matthew P. Forsberg
Date                                        Matthew P. Forsberg




                                         Page 29 of 29
